 

 
    
 

l Compiete items 1 2, and 3. A|so complete
item 4 if Restricted Deiivery is desired.

I Print your name and address on the reverse
so that We can return the card to you.

l Attach this card to the back of the mai|piece,
or on the front if space permits.

[Zi Agent
\'_'l Addressee

G. Da Delivery

 

 

4 D. is deiive`ry`adBEss/different from item 1? n YeS
1` Amcle Addressed to' ` |f YES, enter delivery address beiow: n NO

\<\U'\K W`\A\)c…)€ ’r\<
1111 1)1\1011  
}},.-: i\\;\'\;} }7\ q(;§‘“\ \ 3 service'rype

El Certified Maii l:] Express Mai|
1 ,El Reglstered El Return Receipt for Merchandise
I:l insured Maii |:l C.O.D.

 

 

 

 

 

 

 

 

 

 

4. Restn`cted Delivery? (Extra Fee) |'_'| Yes
2"“‘°‘€’"“"“’€' . ?uL? EL.EU nunn 11111.5 1.311£1
. (Transfer from service Iabel) `
‘v 5 PS Form 3811, February 2004 Domestic Return Receipt 4102595-'02-M~1540
. t_ ,
fe ` 21
v d sp ` 1 f ._. __ _
* ‘
x \ . girstt~ac|as&s glen 4 _
1 03 ees
uSPSQS Paid v
~ Permit No. G-10

 

 

 

 

 

Piease print your name, address, and Z|P+4 in this box '

UNiTED STATES DISTRICT C
?fg§iégF THE CLERK OURT

|V|MERCE ST., RN| 1452
DALLAS, TX 75242

 

 

 

 

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iii:if'iizi“z11111|**1115'111*1"‘1*111 11154\19§1"31§1?'1¥11

 

